Exhibit 4
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
NetQin Infinity (Beijing) Technology Co., Ltd’s Re-announcement of the Transfer of the Work


Mr. Zemin Xu
        The court-appointed receiver, Mr. Robert Seiden, has written to you twice, respectively on
February 8 and April 23, 2019, notifying you and sought your cooperation in enforcing the relevant
court’s decisions.
        Beijing NetQin and its 100% holding parent company Hong Kong Link Motion
International Limited have repeatedly notified you to turn over your legal representative authority
and transfer your work. Now, again, we intend to find you at the company’s office and request you
to turn over your authority as the company’s legal representative and all relevant work:
        1.       As the former chairman and legal representative of the NetQin Infinity (Beijing)
Technology Co., Ltd, please transmit your authority as the legal representative and transfer your
work immediately in accordance with the law, the above-mentioned notice and the requirements
of this notice. Immediately transfer the complete company files, contracts and books and records
to the new legal representative or his authorized agent for safekeeping.
       2.     You shall not transfer any of the company’s assets and funds in any name by any
means, otherwise you will be responsible for crminal liability such as illegal appropriation of funds.
      3.      You shall not continue to use the official seals (including but not limited to the
company seal, financial seal, contract special seal, etc.) and signs that have been invalided by
NetQin Infinity (Beijing) Technology Co., Ltd, otherwise you will be held criminally liable for
commercial fraud, etc.
      4.     At the same time, you, as the legal representative of NetQin Infinity (Beijing)
Technology Co., Ltd, are requested to submit all financial books of NetQin Infinity (Beijing)
Technology Co., Ltd and its subsidiaries to the company for inspection immediately.
         Since we were unable to find you in the company office way to contact you, we are posting
this notice at the office site. You must fulfill your obligations as a legal representative to work at
the company as previously (and this) notice of intercourse, otherwise you will be responsible for
all civil and criminal liabilities that in connection with your refusal of transmission.




May 15, 2019.
